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FILED

IN THE UNITEI) sTATES DISTRICT CouRT
FoR THE WESTERN DISTRICT oF TEXAS MAR _ 6 2007

AUSTIN DIVISION

WESLEYANN EMPTAGE, by and through her

next friend and mother, Raouitee Pamela Puran, `

Plaintiff,
..vs-

MICHAEL CHERT()FF, Secretary of U.S.
Department of Homeland Security; JULIE L.
MYERS, Assistant Secretary, U.S. Immigration
and Customs Enforcement (ICE); JOHN P.
TORRES, Director, Office of Detention and
Removal Operations, ICE; MARC MOORE, ICE
Field Office Director; GARY MEAD, Assistant
Director of Detention and Removal Operations at
ICE; Simona Colon, ICE Officer in Charge; and
J()HN POGASH, ICE National Juvenile
Coordinator,
Defendants.

 

ANGELINA JULIET TOME CARBAJAL, by

and through her next friend and mother,

Elsa Carbajal, -
‘ Plaintiff,

_vs_
MICHAEL CHERTOFF, Secretary of U.S.

Department of Homeland Security; et al.,
Defendants.

 

RICHARD ANDERSON TOME CARBAJAL, by
and through his next friend and mother,
Elsa Carbajal,

Plaintiff,

-vs_
MICHAEL CHERTOFF, Secretary of U.S.

Department of Homeland Security; et al.,
Defendants.

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Case No. A-07-CA-158-SS

Case No. A-07-CA-159-SS

ease No. `A-07-CA-160-ss

 

 

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MOHAMMED IBRAHIM, by
and through his next friend and mother,
Deka Warsame,

Plaintiff,

_vs_

MICHAEL CHERTOFF, Secretary of U.S.
Department of Homeland Security; et al.,
Defendants.

 

BAHJA IBRAHIM, by
and through her next friend and mother,

Deka Warsame,
Plaintiff,

..vs-

MICHAEL CHERTOFF, g secretary of U.s.
Department of Homeland Security; et al.,
Defendants.

 

AISHA IBRAHIM, by
and through her next friend and mother,

Deka Warsame,
Plaintiff,

_vs_

MICHAEL CHERTOFF, Secretary of U.S.
Department of Homeland Security; et al.,
Defendants.

 

SAULE BUNIKYTE, by
and through his next friend and mother,
Rasa Bunikiene,

Plaintiff,

_vS-

Case No. A-07-CA-16l-SS

Case No. A-07-CA-162-SS

Case No. A-07-CA-163-SS

Case No. A-07-CA-164-SS

 

 

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MICHAEL CHERTOFF, Secretary of U.S.
Department of Homeland Security; et al.,
Defendants.

 

` EGLE BAUBONYTE, by
and through her next friend and mother,

Rasa Bunikiene,
Plaintiff,

_vs- - Case No. A-07-CA-165-SS
MICHAEL CHERTOFF, Secretary of U.S.

Department of Homeland Security; et al.,
Defendants.

 

SHERONA VERDIEU, by
and through her next friend and mother,

Delourdes Verdieu,
Plaintiff,

,.vs.. Case No. A-07-CA-166-ss
MICHAEL CHERTOFF, Secretary of U.S.

Department of Homeland Security; et al.,
Defendants.

 

KEVIN YOURDKHANI, by
and through his next friend and mother,

Masomeh Alibegi,
Plaintiff,

.vs- ' Case No. A-07-CA-167-SS
MICHAEL CHERTOFF, Secretary of U.S.

Department of Homeland Security; et al.,
Defendants.

 

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BE IT REMEMBERED on the day of March 2007 the Court reviewed the files in the

above-styled causes, specifically PlaintiffWesleyann Emptage’ s Motion to Consolidate these related

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cases, all Plaintiffs’ Motions for Temporary Restraining Orders to prevent separation from their
parents, and all Plaintiffs’ Motions for Preliminary Inj unctions ordering their immediate supervised
release with~their parents and permitting Plaintiffs’ counsel and experts to inspect the Don T. Hutto
Family Residential Center and examine Plaintiffs.

The Court declines to consolidate these cases at this time, noting that although the cases are
related, facts unique to each plaintiff (for example, whether each child has adult relatives who are
not in custody, whether each child has any special mental or physical needs, and whether certain
plaintiffs are related as siblings) may affect future determinations in these cases. The motion to
consolidate is therefore DENIED without prejudice to re-urging on a more complete factual record.

The Court also declines to enter an ex parte temporary restraining order. Plaintiffs have cited
no authority for the proposition that Defendants may not release the minor Plaintiffs without
simultaneously releasing their parents In particular, paragraph 14 of the Flores agreement, on which
Plaintiffs rely, obligates Defendants to release minor plaintiffs “Without unnecessary delay” but
does not direct the release of a parent in custody or require the continued detention of minors until
the simultaneous release of their parents can be obtained.l Therefore, the Motions for Temporary
Restraining Order are DENIED without prejudice to re-urging in the hearing regarding preliminary
injunctive relief.

IT IS ORDERED that Defendants are hereby required to file a reply to the equitable remedies
sought by each Plaintiff on or before March 16, 2007. In order that this may be done, it is ordered

that counsel for Plaintiffs shall immediately serve the United States Attomey with a copy of the

 

1In fact, Paragraph 14 lists several alternative custodians, including adult relatives or an adult
individual designated by the child’s parent, who would presumably be appropriate guardians if a
child were released while his parent remained in custody.

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complaint and the motion for injunctive relief. This may be accomplished by electronic mail or
personal service. The Clerk of this Court shall immediately notify the United States Attorney of the
pendency of these suits with identifying cause numbers in order for the United States Attorney to
obtain the pleadings immediately by electronic means. The Clerk of the Court shall further send
electronically or by fax to the UnitedStates Attorney a copy-this Order.

IT IS FURTHER ORDERED that these cases are SET FOR HEARING regarding all
preliminary equitable relief on March 20, 2007, at 9:00 A.M. in Courtroom No. 2, United States
Courthouse, 200 West Eighth Street, Austin, Texas. Counsel for plaintiffs are responsible for

notifying Defendants of the time and place of this hearing.

SIGNED this the day of March 2007.

 

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_UNITED sTATEs DIsTRICT JUDGE

